Case 2:20-cv-05726-GEKP Document13 Filed 06/14/21 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTEN :
GOLDSTEIN-SHAFKOWITZ et al., : CIVIL ACTION
Plaintiffs og
v.
BLOOMINGDALES, LLC et at, - No. 20-5726
Defendants :

ORDER
Wh
AND NOW, this ay of June, 2021, it having been reported that the issues among
the parties in the above action have been settled and upon Order of the Court pursuant to the
provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is ORDERED
that the above action is DISMISSED WITH PREJUDICE, pursuant to agreement of counsel

without costs.

BY THE-COURT:

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GENE E. Ke PRATTER
UNITED STATES DISTRICT JUDGE

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